                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 DAVID W. O’DELL,                                       )
                                                        )
                Petitioner,                             )
                                                        )
 v.                                                     )       Nos.    3:14-CR-86-TWP-CCS-10
                                                        )               3:16-CV-314-TWP
 UNITED STATES OF AMERICA,                              )
                                                        )
                Respondent.                             )

                                 MEMORANDUM AND ORDER

        Before the Court is Petitioner’s pro se motion to vacate, set aside, or correct his sentence

 pursuant to 28 U.S.C. § 2255 [Doc. 423]. On February 11, 2016, this Court appointed Federal

 Defender Services of Eastern Tennessee (“FDSET”) to review the case to determine whether

 Petitioner is eligible for collateral relief based on Johnson v. United States, 135 S. Ct. 2551 (2015),

 which invalidated the residual provision of the Armed Career Criminal Act, 18 U.S.C. § 924(e),

 for unconstitutional vagueness. See E.D. Tenn. SO-16-02 (Feb. 11, 2016). Petitioner filed a pro

 se request for relief on June 9, 2016, challenging his sentence based on the Johnson decision [Doc.

 423 (arguing that his sentence was improperly enhanced)]. 1 FDSET did not file a supplement.




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         The ACCA mandates a fifteen-year sentence for any felon who unlawfully possesses a
 firearm after having sustained three prior convictions “for a violent felony or a serious drug
 offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1). The
 statute defines “violent felony” as “any crime punishable by imprisonment for a term exceeding
 one year” that (1) “has as an element the use, attempted use, or threatened use of physical force
 against the person of another” (the “use-of-physical-force clause”); (2) “is burglary, arson, or
 extortion, involves the use of explosives” (the “enumerated-offense clause”); or (3) “otherwise
 involves conduct that presents a serious potential risk of physical injury to another” (the “residual
 clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual clause—that the
 Supreme Court deemed unconstitutional in the Johnson decision. 135 S. Ct. at 2563.




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        On March 21, 2017, Petitioner filed a pro se request for the appointment of counsel to

 investigate his eligibility for collateral relief in light of Johnson v. United States, 135 S. Ct. 2551

 (2015) [Doc. 458]. However, as previously stated, the Court has already appointed counsel to look

 into whether the Petitioner has a claim under the Johnson decision. As such, Petitioner’s request

 for the same is [Doc. 458] DENIED as moot in light of this Court’s Standing Order.

        The Supreme Court decided Beckles v. United States on March 6, 2016, holding that the

 United States Sentencing Guidelines are “not amenable to vagueness challenges.” Beckles v.

 United States, No. 15-8544, 2017 WL 855781, at *7 (U.S. March 6, 2017). Thus, binding authority

 now dictates that the Johnson decision does not undermine or adversely affect the instant sentence.

        Because the Beckles decision forecloses any possibility of Johnson-based relief,

 Petitioner’s § 2255 motion [Doc. 423] will be DENIED and DISMISSED WITH PREJUDICE.




 Section 4B1.1 enhances a defendant’s offense level if he or she qualifies as a “career offender,”
 i.e., adult defendant whose offense of conviction is a “crime of violence or controlled substance
 offense” and who has “at least two prior felony convictions of either a crime of violence or a
 controlled substance offense.” U.S. Sentencing Manual § 4B1.1(a).

 The Guidelines set a general base offense level of fourteen for violating 18 U.S.C. § 922(g). U.S.
 Sentencing Manual § 2K2.1(a)(6). For offenders with one prior conviction for either a “crime of
 violence” or “controlled substance offense,” the base offense level increases to twenty. U.S.
 Sentencing Manual § 2K2.1(a)(4). Offenders with two such convictions face a base offense level
 of twenty-four. U.S. Sentencing Manual § 2K2.1(a)(2). “Controlled substance offense” is defined
 as any offense “punishable by imprisonment for a term exceeding one year, that prohibits the
 manufacture, import, export, distribution, or dispensing of a controlled substance . . . or the
 possession of controlled substance . . . with intent to manufacture, import, export, distribute, or
 dispense.” U.S. Sentencing Manual § 4B1.2(b). “Crime of violence” is defined in an almost
 identical manner as “violent felony” under the ACCA. See U.S. Sentencing Manual §4B1.2(a)
 (adopting identical use-of-force and residual clauses and similar enumerated-offense clause).


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 The Court will CERTIFY any appeal from this action would not be taken in good faith and would

 be totally frivolous. Therefore, this Court will DENY Petitioner leave to proceed in forma

 pauperis on appeal. See Fed. R. App. P. 24. Petitioner having failed to make a substantial showing

 of the denial of a constitutional right, a certificate of appealability SHALL NOT ISSUE. 28

 U.S.C. § 2253; Fed. R. App. P. 22(b).

        IT IS SO ORDERED.



                                        s/ Thomas W. Phillips
                                      SENIOR UNITED STATES DISTRICT JUDGE




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